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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 CANADIAN BREAKS, LLC,                            §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §   2:21-CV-37-M-BR
                                                  §
 JPMORGAN CHASE BANK, N.A.,                       §
                                                  §
        Defendant.                                §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

        Before the Court is Plaintiff Canadian Breaks, LLC’s Motion to Remand and Brief in

Support. (ECF 20). The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation regarding the motion. (ECF 44). Plaintiff filed objections on September 28,

2021. (ECF 46). Defendant filed a response to Plaintiff’s objections on October 12, 2021 (ECF

50). The District Court has made a de novo review of the portions of the proposed findings and

recommendation to which objections were made. The objections are overruled. Accordingly, the

Court ACCEPTS the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge, and Plaintiff’s Motion to Remand and Brief in Support (ECF 20) is DENIED.

        It is ORDERED that Defendant JPMorgan Chase Bank, N.A. shall be granted leave to file

an amended notice of removal and allege complete diversity of citizenship on information and

belief within fourteen (14) days of this Order.

        SO ORDERED, this 20th day of October, 2021.
